6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 1 of 8
Peter Ash, MD                                               March 4, 2019

                                                                   Page 1
                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF OKLAHOMA


        ROBBIE EMERY BURKE,

                         Plaintiff,                   CIVIL ACTION

                vs.                                   FILE NUMBER

        MUSKOGEE COUNTY COUNCIL OF                    18-CV-108-RAW
        YOUTH SERVICES ("MCCOYS"),
        et al.,

                     Defendants.
        ________________________________




                         VIDEOCONFERENCE DEPOSITION OF
                                 PETER ASH, MD


                                 March 4, 2019
                                    1:02 p.m.




                          2900 Chamblee Tucker Road
                                 Building 13
                           Atlanta, Georgia 30341
                  Thomas R. Brezina, CRR, RMR, CCR-B-2035




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6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 2 of 8
Peter Ash, MD                                               March 4, 2019

                                                                  Page 65
   1    Then -- but even the arteries take a quite a bit.
   2    Another possibility is, you simply occlude the
   3    jugular veins, which takes the least force, and that
   4    prevents venous return from the brain, but then it
   5    also takes longer for you to pass out.
   6                     And so here he's in a situation where
   7    all he has to do is raise his head and everything
   8    stops and he's perfectly able to do that.              This is
   9    not like he's hanging from a -- you know, something
  10    on the ceiling where once you've done it, you don't
  11    have a whole lot of options unless you can actually
  12    pull yourself up or something, so at any point prior
  13    to passing out, he can push himself up and it's
  14    fine.
  15                     Now, we know that he in the past has
  16    made suicide attempts by hanging which have not been
  17    successful.
  18          Q          We know that from what?
  19          A          Because that is what he said.          I mean,
  20    we're assuming -- that is on the assessments.
  21          Q          Was he truthful?
  22          A          Well, we don't know.        But there is --
  23    you know, that's what he says, so he's done some
  24    hanging before and survived, which suggests that the
  25    hanging was something where he did something -- it


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6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 3 of 8
Peter Ash, MD                                               March 4, 2019

                                                                  Page 66
   1    could well be he did something like this and then
   2    sort of lift half -- partway and he lifts his head
   3    up and decides, okay, I'm not going to go through
   4    with it.
   5          Q          Is it important to you that he also
   6    stated during the assessment that he had not
   7    received any medical treatment from his prior
   8    attempts?     Including the gun that he claimed he
   9    tried.
  10          A          Yeah.   That -- I'm not sure what to
  11    make of that.
  12          Q          On this particular day --
  13          A          But -- so anyway, he's here.          He's on
  14    the floor, and all he can do is lift his head up, so
  15    it seems to me likely that he was playing around
  16    with this for a while.         You know, puts his head
  17    down.     Then you could lift it up.
  18                     I mean, you can put it down; lift it
  19    up.   I also think it possible -- again, we obviously
  20    don't have video; we don't know -- that he thought,
  21    well, as long as he could still breathe, he was not
  22    going to die because I think most people think when
  23    you hang yourself, what you are doing is you're
  24    cutting off your airway and you can't breathe and
  25    that is why you die.


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6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 4 of 8
Peter Ash, MD                                               March 4, 2019

                                                                   Page 67
   1                     Putting some weight on the neck -- you
   2    can put enough weight on the neck that will occlude
   3    the jugular veins but will not break your -- will
   4    not block your airway.         So you can lie there
   5    thinking, oh, I'm breathing, so this is fine;
   6    anytime I want, I can lift my head.            And then you
   7    pass out, and of course once you have passed out,
   8    then you can't make decisions to reverse it.               At
   9    that point various physiological things start to
  10    happen.
  11                     But it seems to me given this
  12    particular way of doing it, he likely played around
  13    with it for a while.        He did it.     Lift his head up
  14    because he'd done it before presumably, assuming
  15    he's telling the truth about the previous attempts,
  16    and so that is going to go on for some period of
  17    time.
  18                     How long?     We don't know.      Okay.    At
  19    some point he passes out.         Now, at that point, then
  20    the clock sort of really starts ticking.             Then the
  21    question is, all right.         From that point how long
  22    does it take to be dead?         From what I have read, it
  23    turns out that is not terribly clearly understood.
  24    The estimates are something like four to six
  25    minutes, I suppose.        Maybe a little less in some


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6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 5 of 8
Peter Ash, MD                                               March 4, 2019

                                                                  Page 68
   1    cases; maybe more.       So say, you know, five minutes
   2    there.
   3                     So then the total time at which, had
   4    there been an observation, something would have been
   5    seen starts with, he starts -- he takes the sheets
   6    off the bed and then he makes the noose.              Then he
   7    puts his head in it and lifts it up and down for
   8    however long that is, and then at some point passes
   9    out, and then it's another five minutes.              So how
  10    long the sheets took, how long the noose took, how
  11    long he played around, I don't have any -- I can't
  12    give you within minutes for that.
  13          Q          It would be speculation?
  14          A          That would be speculation.         But the
  15    fact that all of these are going to take some time,
  16    puts the total time from taking the sheets off to
  17    death at well more than seven and a half minutes,
  18    which means it's more likely than not that had he
  19    had 15-minute checks, somebody would have seen it.
  20          Q          How do you get from seven and a half to
  21    more than 15?
  22          A          Seven and a half minutes is
  23    statistically, how -- if you randomly take -- if you
  24    are checking every 15 minutes, seven -- seven and a
  25    half minutes is where fifty percent of the time at a


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Peter Ash, MD                                               March 4, 2019

                                                                  Page 69
   1    15-minute check you will see it happen --
   2          Q          What do you --
   3          A          Because it's half of -- what?          If you
   4    start -- if you start at any minute -- if you --
   5    okay.     Someone observes him.       That is time zero.
   6    Okay?     If you start the sequence at any point after
   7    minute 7.5, then at the next 15-minute check you'll
   8    be observed in the middle of it.
   9          Q          And where is that literature?
  10          A          What?
  11          Q          Where is that literature?
  12          A          That is statistics.       Seven and a half
  13    minutes at -- at seven minutes and 31 seconds, then
  14    15 minutes will be seven and a half minutes after
  15    that, so you will see it.         That is just the point.
  16    So I'm saying that the sequence of taking the sheet
  17    off, making a noose, do all of that, you know, we
  18    don't know exactly, and then add on five minutes for
  19    death.    But to say that he took off the sheet and
  20    made the noose and played around and all of that
  21    took place in less than two and a half minutes,
  22    strikes me as highly improbable.
  23          Q          Can we agree that he could twist this
  24    sheet, put it around his neck, make the few loops he
  25    made, and tie it to the bar in under two minutes?


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6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 7 of 8
Peter Ash, MD                                               March 4, 2019

                                                                  Page 80
   1    interrupted it.       It doesn't mean -- you know,
   2    because you just take, you know, eight divided by 15
   3    is whatever it is.       More than 50 percent.
   4           Q         So --
   5           A         So yes.    Is it possible?       I'm not -- my
   6    report doesn't say, oh, yes, it's absolutely clear
   7    that 15-minute checks, you know, would have caught
   8    it.    I'm not saying that at all.
   9           Q         And if you look on page 16 --
  10           A         I'm just saying it's more likely than
  11    not.
  12           Q         If you look on page 16 of 22, there is
  13    a reference again to Dr. Ryan Brown.            Program
  14    Manager Bateman attended the child protection
  15    committee meeting at Children's Hospital in Oklahoma
  16    City.
  17                     Do you see that?
  18           A         I do.
  19           Q         Dr. Brown indicated based on the
  20    positioning of the sheet and the position of Woods'
  21    neck, that death could have taken place within a
  22    15-minute time period, and that would be consistent
  23    with what you just said; right?           It could happen --
  24           A         Sure.
  25           Q         -- within that time?


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6:18-cv-00108-RAW Document 185-24 Filed in ED/OK on 04/04/19 Page 8 of 8
Peter Ash, MD                                               March 4, 2019

                                                                  Page 81
   1           A         It could happen in that time.
   2           Q         Your report, which is marked as Exhibit
   3    1 --
   4           A         I should add the point, it can't happen
   5    in a five-minute check -- time period.
   6           Q         Impossible?
   7           A         Well, I always remember never to say
   8    always and never.       I wouldn't say impossible.
   9    Exceedingly unlikely.
  10           Q         Looking at page -- at the second page
  11    of your report --
  12           A         The second page?
  13           Q         Yes, sir.     Where it starts with course
  14    of events.
  15           A         Uh-huh.
  16           Q         And you say that he was admitted to
  17    Muskogee for being a runaway; is that right?
  18           A         That is my understanding.
  19           Q         Is it also your understanding that he
  20    was a runaway on probation for burglary and
  21    obstruction of an officer charges, criminal charges?
  22    In other words, this isn't just a kid that ran away.
  23           A         At this moment I'm not sure whether I
  24    knew that or not.
  25           Q         Do you know anything about --


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